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IN THE UNlTED STATES DISTRICT COURT
FOR THE EASTERN DISTRIC'I` OF VIRGINIA
Richmond Division

GENETIC TECHNOLOGIES LIMITED__ )
Plaintif`t`_. §
v. § Civil Action No. 3:]2CV724-I~IEI-I
GENETICS & IVF INS'I`ITUTE, TNC., §
Defcndant. §
FINAL ORDER
THIS MATTER is before the Court on a Stipulation ofDisrnissal With Prejudice
tich by the parties and pursuant to cheral Rule oi`Civil Procedure 4 l (a)( l )(A)(ii). lt
appearing to this Court that all matters o[` controversy have been fully rcso!vcd and
compromised, it is HEREBY ORDERED that this action is DISMISSED WI'l`I-I
PREJUDICE.
Thc Clcrk is directed to send a copy of this Order to all counsel of`record.
It is so ORDERED.

ad /s/

chry E. I-Iudson
United Statcs District Judge

 

Date: hud 30 gill

Richmond, VA "'

